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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                  GAINESVILLE DIVISION


             UNITED STATES OF AMERICA,              :
                                                    :
                   v.                               :    CRIMINAL ACTION NO.
                                                    :    2:12-CR-00026-RWS
             EDWARD TREISBACK,                      :
                                                    :
                         Defendant.                 :

                                                ORDER

                   This case is before the Court for consideration of the Report and

             Recommendation [35] of Magistrate Judge J. Clay Fuller. After reviewing the

             Report and Recommendation and Defendant’s Objections [37] thereto, the

             Report and Recommendation is received with approval and adopted as the

             Opinion and Order of this Court. Accordingly, Defendant’s Renewed Motion

             to Dismiss for Speedy Trial Violation [16] is DENIED.

                   SO ORDERED this 14th         day of May, 2014.




                                                   ________________________________
                                                   RICHARD W. STORY
                                                   United States District Judge




AO 72A
(Rev.8/82)
